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                       EXHIBIT AA
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          9
     10                                    IN THE UNITED STATES            DISTRICT COURTS
     11                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
     12                                AND THE NORTHERN DISTRICT OF CALIFORNIA
     13                   UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
     14                        PURSUANT TO SECTION 2284, TYFLE 28 UNITED STATES CODE
  15
               RALPH           COLEMAN, et al.,                      Case Noi CIV S-90-0520 LKK JFM P
  16
                                   Plaintiffs,                       THREE-JUDGE COURT
  17
 18
               ARNOLD SCHWARZENEGGER; et
 19            al.,
 20                                Defendants..
 21
 22
                                                                     [F.R:C.P. 24; 18 U.S.C. § 3626(a)(3)(F)]
                                                                     CaseNo." C01-1351 TEH
 23           MARCIANO PLATA, et al,
                                                                     THREE-JUDGE COURT
24                                 Plaintiffs,
25
                                                                    INTERVENOR-DEFENDANT KERN
                         VS.                                        COUNTY SHERIFF'S RESPONSES TO
                                                                    PLAINTIFFS' FIRST SET OF
26            ARNOLD            SCHWARZENEGGER, et                  INTERROGATORIES
              al.,
27
                                  Defendants.
28


                     1NTERVENOR-DEFENDANT KERN COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST         0FINTERROGATORIES
                                                                                                 SET
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           PROPOUNDING PARTIES:                    Plaintiffs, MARCIANO PLATA, et al.
           RESPONDING PARTY:                       Intervenor-Defendant, KERN COUNTY SHERIFF
           SET NUMBER:                             One (1)
                      TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
                                                Civil Procedure Rule 33, Intervenor-Defendant Kern
                      Pursuant to Federal Rules of
      6    County Sheriff separately and fillly responds to Plaintiffs' First Set Of Interrogatories as
      7    follows:
                            :Preliminarg, Statement and General Objections
     9          1.    Intervenor,Defendant has not completed investigation of the facts relating
   10 to this case, has not completed discovery in this action and has not completed preparation
   11 for trial. Therefore, these responses, while based, on diligent factual exploration, reflect
   12 only Intervenor-Defendant's current state of knowle"dge, understanding, and belief with
   13 regard to the matters about which inquiry has beenmade. Intervenor-Defendant
                                                                                            reserves
  14 the right to supplement ttiese responses with subsequently dbtained
                                                                              or discovered

  1.5 information. With regard to each interrogatory, Intervenor-Defendantreserves the right;
 16 notwithstanding these answers and responses, to employ at trial
                                                                         or in any pretrial
 i7 proceeding herein information subsequently obtained discovered, information the
                                                              or
  18 materiality of which is not presently ascertained, or information Intervenor-Defendant
 t9 does not regard as coming within the scope of the interrogatories
                                                                           as Intervenor-D•
 2O understands them.
 21              2.      These responses are made solely for the purpose of this action: Each
 22       answer.is subject to all objections as to competence, relevance, materiality, propriety,
 23       admissibility, privacy, privilege, and any and all other objections that would require
 24       exclusion of any statement contained herein if any such interrogatories were asked of,
                                                                                                                  or
 25       any statement contained herein if any such interrogatories were asked of, or              any
 26       statement contained herein were made by, a witness present and            testifying in court, all of
27        which objections and grounds are reserved and may be interposed at the time of trial.
28               3.        Excep• for explicit facts admitted herein, no incidental or implied
                                                           -2-
            1NTERVENOR-DEFENDANT KERN COLrNTY SHERIFF'S RESPONSES TO.PLAINTIFFS' FIRST SET OF
                                                                                                INTERROGATORIES
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        admissions are intended hereby. Intervenor-Defendant's answers or objections to any
        interrogatory are notan admission of any fact set forth or assumed by that interrogatory.
        In addition, each of Intervenor-Defendant's answers to an interrogatory or part of any
        interrogatory is. not a waiver of part or all of any objection he might, make to that
        interrogatory, or an admission that Such answer or objection constitutes admissible
     6 evidence. Intervenor-Defendant asserts these objections without waiving or .intending to
     7 waive any objections as to competency, relevancy, materiality or privilege.
     8-         4.     To the extent Intelwenor-Defendant responds to these interrogatories, the
     9 responses will not include information protected by the right of privacy. All objections
  10 on the grounds of constitutional and common law privacy, rights are expressly preserved.
  11           5.      Intervenor-Defendant objects to each and every Interrogatory to the extent
  12 that Plaintiffs are requesting information that is neither relevant to the subject matter of
  13 this action nor reasonably calculated to lead to the discovery of admissible evidence.
  14           6:     Intervenor-Defendant objects to the Interrogatories to the extent that they
  15 ar e vague and ambiguous and do not include adequate definition; specificity,
                                                                                         or limiting
        factors.                                                                      "


  17               7.   Intervenor-Defendantobjects to the Definitions provided by Plaintiffs and
  18   the term "PERSON." The definition is vague, ambiguous, and overbroad.as used in these
  19   Interrogatories.
 20            Subject to and without.waiving the foregoing objections, and. incorporating them
 21    by reference, into each of the responses provided b+low, Intervenor-Defendant hereby
 22    responds as follows:
 23    INTERROGATORY NO. |"
 24            From January     1, 1995 until the present, have any limit(s) been in place, as the
                                                                                      any jail operated
 25    result of any lawsuit, on the number of people that can be housed in
 26    and/or maintained by YOU? If so:
 27                   (a)      State the name, date and case number of every case which resulted in
28     any such limit(s).
                                                         -3-
          INTERVENOR-DEFENDANT KERN COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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             RESPONSE TO INTERROGATORY NO. 1:
       2.           In addition to the General Objections stated above, Intervenor-Defendant objects
       3     to this interrogatory   on   the grounds that it is vague, ambiguous and overbroad; to the
       4     extent that it seeks information not relevant to this litigation nor reasonably calculated to
       5     lead to the discovery of admissible evidence.
       6            Without waiving and subject to the objections, Intervenor-Defendant responds that
       7     from January 1, 1995 until present, limits have been in place on the number of people
       8    can be housed in Kern County jails operated and/or maintained by Intervenor-Defendant
       9     asa result of Anderson, et al. v. County of Kern, et al., Case No. CIV F900205 JFM P
  10        dated October 1992.
  11        INTERROGATORY NO. 2:
 12                 In any instance, from January 1, 1995 until the present, in which any limit(s) have
 13         been in place on the number of people that can be housed in any jail operated andtor
  14        maintained by YOU, what mechanisms were used to comply with those limits?
  15                         (a)     Identify all DOCUMENTS which relate to YOUR answer.
  16                         (b)     Identify all PERSONS whom YOU believe or suspect have
  17        information to    support YOUR      answer.

  18        RESPONSE TO INTERROGATORY NO. 2:
 19                In addition to the General Objections stated above, Intervenor-Defendant objects
 20         to .this interrogatory on the grounds that it is vague,    ambiguous and overbroad; tothe
 21         extent that it seeks information not relevant to this litigation nor reasonably calculated to
 22         lead to the discovery of admissible evidence.
 23                Without waiving and subject to the objections, Intervenor.Defendant responds thal
 24         from January 1, 1995 until present, as a result of Anderson, et al. v. County of Kern, et
 25         al_=., Case No. CIV F900205 JFM P dated October 1992 Intervenor-Defendant may release
 26         inmates when total prison population reaches 90% capacity and he shall release inmates
 27         when the total population reaches 100% capacity. The County utilizes a classification
 28         system to identify which inmates are to be released when the percentages are met.

              INTERVENOR-DEFENDANT KERN COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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                        (a) Detentions Bureau Policy and Procedures Manual: Section K-320 Inmate
          2     Population Management," Detentions Bureau Policy and Procedures Manual." Release
          3     Citation Misdemeanor Charges; and Classification Training Objectives:" Lerdo Support
          4     Services, Classification Unit.
          5             (b) Sergeant Greg Gonzales.
          6     INTERROGATORY NO. 3:
          7               From January l, 1995 until present, how many people have had their releases fron
       8        any jail operated and/or maintained by YOU accelerated as a result of may limit(s) placed
       9        on    the number of people that can be housed in that jail?
     10                          (a)    Identify all DOCUMENTS which relate to YOUR answer.
     11                          (b)    Identify all PERSONS whom YOU believe or suspect have
     12         information to support YOUR       answer.

  13           RESPONSE TO INTERROGATORY NO. 3:
  14                     In addition to the General Objections stated above, Intervenor-Defendant objects
  15           to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
  16           extent that it seeks information not relevant to this litigation nor reasonably calculated to
  17           lead to the discovery of admissible evidence.
  18                   Without waiving and subject to the objections, Intervenor-Defendant responds that
  19           from January 1, 1995 until present, 47,065 inmates have had their release accelerated
                                                                                                         as a
 2O            result of limits placed on the number of people that can be housed in Kern County jails.
 21                      (a)    Records recorded in Kern County's Criminal Justice Information System,
                                                                                                                        a
 22            computerized inmate management system.
 23                      (b)    Dennis Martin.
 24           INTERROGATORY NO. 4:
 25                  What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
 26           January 1, 1995 until present, in any county in which YOU operate and/or maintain
                                                                                                                  a
27            jail?
28                             (a)     For each such program, describe the mission and/or
                                                                                                      purpose of the
                                                               -5-
                 1NTERVENOR-DEFENDANT KERN COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS'                  INTERROGATORIES
                                                                                       FIRST SET OF
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                 placement program°
           2                  (b) For each such program, identify what criteria are used to decide who
           3    may enter the program.
           4                      (c)     Identify all DOCUMENTS which relate .to YOUR answer.
           5                      (d)     Identify all PERSONS whom YOU believe or suspect have
           6    information to support YOUR answer.
           7    RESPONSE TO INTERROGATORY NO. 4:
                        In addition to the General Objections stated above, Intervenor-Defendant objects
       9        to this interrogatory on the    grounds that it is vague, ambiguous and overbroad; to the
      10        extent that it seeks    information not relevant to this litigation nor reasonably calculated to
      11        lead to the discovery of admissible evidence.
      12                Without waiving and subject to the objections, Intervenor-Defendant responds
      13        from January     1, 1995 until present, Kern County utilizes a Electronic Monitoring
      14        Program:
  15                   (a)       This program, operated by Kern County Probation Department, offers
                                                                                                                  an
  16           Electronic Monitoring Program that may allow persons to live at home and work at their
  17           place of employment while receiving credit for Court ordered incarceration as part of
  18           their sentence.
  19                   (b)       The program is limited to minimum security or low-risk offenders
  2O            committed to the County Jail or granted probation. All minimum security and low risk
 21             offenders in the custody of the Intervenor-Defendant
                                                                      are eleigle to apply for Electronic
 22            Monitoring Program if they haw, less than one year but more than .ten days of their
 23            sentence to serve. The applicant must reside in Kern County and have working
                                                                                          a
 24            telephone.
 25                    (c) All documents relating tO this program are maintained by the Kern County
 26            Probation Department.
 27                    (d) Kern County Probation Department.
 28                    Without waiving and subject to the objections, Intervenor-Defendant responds

                 INTERVENOR-DEFENDANT KERN COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST
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           from January 1, 1995 until present, Kern County utilizes a Sheriff's Parole.
       2           (a)     In accordance with Penal Code section 3074 through 3089, sentenced
       3   inmates remanded to the Kern County Jail may be           eligible for County Parole. The
   4       purpose of which is
                                  the successful reintegration of the offender into society and to
       5   positive citizenship.
       6           (b) All county sentenced inmates are eligible unless they are serving time for
   7       escape, failure of another program, been a significant disciplinary problem or have an out
       8   of county USBP or state parole hold. Inmates must have completed 20% of their
   9       sentence and finished any court ordered classes.
  10              (c)     Detentions Bureau Policy and Procedures Manual." Section L-I O0                  Coun•
  11       Parole," Memorandum dated February 2, 2005 titled County Parole Summary.
  12              (d)    Sergeant Kelli Lewis.
    13            Without waiving and subject to the objections, Intervenor-Defendant responds thai
    14 from January 1, 1995 until present, Kern County utilizes Work Release Program.
                                                                    a

   15             (a) On 8/18/87 the Kern County Board of Supervisors created the Sheriff's
   16 Work Release Program under statute authority of Penal Code section 4024.2. The
   17 program was established to promote the successful reintegration of offenders into society,
   18 and reduce jail population, by providing a Work
                                                           program. This benefits the commtmity
  19 by providing labor to government agencies. Additionally, the
                                                                        program provides the
  20 Intervenor-Defendant with an alternative to incarceration. This in
                                                                             turn assists in reducing
 21     the jail population.
 22              (b) Inmates are eligible for the program through either Court Referral
                                                                                             or
 23 Release from Custody. The criteria for Court Referral includes ability
                                                                                 to perform manual
 24 labor, able to provide own transportation, and
                                                        no mental or physical health history that
25 indicates applicant may be unsuitable.
26              The criteria Release from Custody includes that the applicant
                                                                               must have served
27     10% of their sentence in custody, be within 150 days of release, completed all
                                                                                          court
28     ordered classes, cannot have lost 15 days or more of good time or.been significant
                                                                                  a


            INTERVENOR-DEFENDANT KERN COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS'
                                                                                  FIRST SET OF INTERROGATORIES
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           disciplinaryproblem, and mental and physical health history indicates applicant is
       2   suitable.
       3          (c) Work Release Policy and Procedure Manual: Section A-tO0 Program
       4   Authority and Organization ," Work Release Policy and Procedure Manual," Section B-106
       5    Eligi.bility Criteria.
       6           (d)     Sergeant Kelli Lewis.
       7
       8   DATED:        April 11; 2008                    Respectfully submitted,
                                                          JONES & MAYER

  10
                                                           By:
  11
  .12
                                                                          •e•-{or Sheriff, Probation, Police
                                                                   Chief, and Corrections Intervenor-
                                                                   Defendants
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            INTERVENOR-DP21•ENDANT KERN COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
